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 5   Facsimile: 925-482-0929

 6   Attorneys for Plaintiffs GOLDEN BEAR
     MANAGEMENT CORPORATION and
 7   DELTA ADJUSTING COMPANY

 8                                 UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   GOLDEN BEAR MANAGEMENT                             Case No. 2:22-cv-02097-JAM-DB
     CORPORATION; DELTA ADJUSTING
12   COMPANY,                                           CONSENT ORDER GRANTING
                                                        SUBSTITUTION OF ATTORNEY
13                       Plaintiffs,

14          v.

15   CERTAIN UNDERWRITERS AT LLOYD’S
     LONDON, SUBSCRIBING TO POLICY NO.
16   50006700119,

17                       Defendant.

18

19          Notice is hereby given that, subject to approval by the Court, Golden Bear Management
20   Corporation and Delta Adjusting Company substitutes Michael D. Prough, State Bar No. 168741,
21   and Yas-Banoo Omidi, State Bar No. 254962, as counsel of record in place of Susan Ly of
22   Faegre Drinker Biddle & Reath.
23          Contact Information for new counsel is as follows:
24          Firm Name: Prough Law, APC
            Address:      1550 Parkside Dr. Ste. 200
25                        Walnut Creek, CA 954596

26          Telephone:       (925) 433-5894    Facsimile:        (925) 482-0929
            Email:           mdp@proughlaw.com
27                           yo@proughlaw.com
28
                                                                       SUBSTITUTION OF ATTORNEY
                                                                        Case No. 2:22-cv-02097-JAM-DB
     Case 2:22-cv-02097-JAM-DB Document 34 Filed 06/21/24 Page 2 of 2


 1   I consent to the above substitution:   /s/ Henry Su
 2   Date: June 14, 2024                    Henry Su for Golden Bear Management and
 3                                          Corporation and Delta Adjusting Company
                                            (Signature of Parties)
 4

 5   I consent to being substituted.        /s/ Susan Ly (as authorized on 6/13/2024)
 6   Date: June 13, 2024                    Susan Ly
 7                                          (Signature of Former Attorney)

 8

 9   I consent to the above substitution.   /s/ Michael D. Prough
10
     Date: June 14, 2024                    Michael D. Prough
11                                          (Signature of New Attorney)

12

13   I consent to the above substitution.   /s/ Yas-Banoo Omidi (as authorized on 6/14/2024)
14
     Date: June 14, 2024                    Yas-Banoo Omidi
15                                          (Signature of New Attorney)

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17   The substitution of attorney is hereby APPROVED and so ORDERED.
18    Dated: June 21, 2024                   /s/ John A. Mendez
19                                           THE HONORABLE JOHN A. MENDEZ
                                             SENIOR UNITED STATES DISTRICT JUDGE
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                                                                    SUBSTITUTION OF ATTORNEY
                                                                    Case No. 2:22-cv-02097-JAM-DB
